      Case 2:19-cv-00844-DSC-CRE Document 23 Filed 06/24/22 Page 1 of 2


                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


KEITH WRIGHT,                                 )
                                              )
               Petitioner,                    )
                                              )
       v.                                     )       2:19cv844
                                              )       Electronic Filing
COMMONWEALTH OF                               )
PENNSYLVANIA, WARDEN SCI                      )
COAL TOWNSHIP and DISTRICT                    )
ATTORNEY OF ALLEGHENY                         )
COUNTY,                                       )
                                              )
               Defendants.                    )



                                   MEMORANDUM ORDER


       AND NOW, this 24th day of June, 2022, after de novo review of the record and upon due

consideration of [19] the Magistrate Judge's Report and Recommendation of May 18, 2021, and

[20] petitioner's "objections" thereto and accompanying/related submissions, IT IS ORDERED

that [20] petitioner’s objections are overruled, [1] the Petition for Writ of Habeas Corpus is

dismissed and the concomitant request for a certificate of appealability is denied. The report and

recommendation as augmented below is adopted as the opinion of the court.

       Petitioner's objections are unavailing. The Report and Recommendation carefully and

thoroughly considers each basis for relief advanced by petitioner and demonstrates why under

the prevailing standards the court is barred from granting relief and the claim is otherwise

without merit. Petitioner has failed to identify any error in the recommended disposition and

instead merely seeks to rehash the grounds he previously has raised and which have been found

to be unavailing.
      Case 2:19-cv-00844-DSC-CRE Document 23 Filed 06/24/22 Page 2 of 2


       For the reasons set forth in the Report and Recommendation as augmented above, the

petition for writ of habeas corpus has been dismissed and a certificate of appealability properly

has been denied.



                                             s/ David Stewart Cercone
                                             David Stewart Cercone
                                             Senior United States District Judge



cc:    Rusheen R. Pettit, Esquire

       (Via CM/ECF Electronic Mail)

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